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OREGON JUDICIAL DEPARTMENT - Online Records Search



 05/13/2024 Letter ,..

   Comment
   A183410 re: Corrected Amended Notice of Appeal

 05/14/2024 Order - Recusal ..,

   Judicial Officer
   Barnack, Timothy

 05/15/2024 Motion - Disqualify Judge

 05/16/2024 Order - Denial .,

   Judicial Officer
   Bloom, Benjamin M

 05/28/2024 Hearing - Motion ...

 Judicial Officer
 Bloom, Benjamin M

 Hearing Time
 9:00AM

 Comment
 RSP's Motion to Djsqualify
